        Case 2:15-cr-00234-JAM Document 68 Filed 02/22/17 Page 1 of 2


 1   DONALD H. HELLER, SBN 55717
     DONALD H. HELLER,
 2   A Law Corporation
 3   3638 American River Drive
     Sacramento, CA 95864
 4   Telephone: (916) 974-3500
     Facsimile: (916) 520-3497
 5   E-Mail: dheller@donaldhellerlaw.com
 6   Attorneys for Defendant Steven Marcus
 7

 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                     Case No. 2:15 CR-00234 JAM
12             Plaintiff,
13                                                STIPULATION & ORDER TO
14          vs.                                   VACATE AND CONTINUE JUDGMENT
                                                  AND SENTENCING
15
     STEVEN MARCUS,
16

17          Defendant.

18

19

20
            Plaintiff, United States of America, by and through its counsel, Assistant United
21
     States Attorney Todd Pickles, Esq., and defendant Steven Marcus, by and through his
22
     attorney of record, Donald H. Heller, Esq, agree and stipulate to vacate the existing date
23

24   for Judgment and Sentencing of April 4, 2017, and to continue Judgment and

25   Sentencing to July 11, 2017, at 9:15 a.m.

26          The parties to this stipulation request this Court to accept and adopt this
27   stipulation.
28
                                                  1
                                                               Case No. 2:15 CR-00234 JAM.
       Case 2:15-cr-00234-JAM Document 68 Filed 02/22/17 Page 2 of 2


 1   Dated: February 21, 2017              /s/ Donald H. Heller
 2
                                           DONALD H. HELLER
 3                                         Attorney for Defendant
                                           Steven Marcus
 4

 5                                         /s/ Todd Pickles by Donald Heller with
 6                                         authorization

 7                                         TODD PICKLES
                                           Assistant U.S. Attorney
 8                                         Attorney for the Government
 9

10

11                                         ORDER

12
           Based on the representations and stipulation of Counsel, IT IS HEARBY
13
     ORDERED that:
14

15         1.    The Judgment and Sentencing Hearing for defendant Steven Marcus on

16   April 4, 2017, is VACATED; and,
17         2.    Judgment and Sentencing for Steven Marcus is reset for July 11, 2017, at
18
     9:15 a.m.
19
           IT IS SO ORDERED.
20

21

22   Dated: 2/21/2017

23

24                                                /s/ John A. Mendez__________
                                                  JOHN A. MENDEZ
25                                                United State District Court Judge
26

27

28
                                              2
